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                                                         July 22, 2023

VIA ECF

The Honorable Lewis A. Kaplan
United States District Court
Southern District of New York
United States Courthouse
500 Pearl Street
New York, New York 10007

         Re: United States v. Samuel Bankman-Fried, S5 22 Cr. 673 (LAK)

Dear Judge Kaplan:

       On behalf of our client, Samuel Bankman-Fried, we write in response to the
Government’s letter filed Thursday evening regarding Mr. Bankman-Fried’s communications
with a reporter for the New York Times and seeking an order prohibiting certain “extrajudicial
statements by parties and witnesses” pursuant to SDNY Local Rule 23.1(h). ECF No. 176.

        The Government has taken a set of circumstances where nothing improper or
impermissible occurred and has unfairly recast the events as a nefarious attempt by Mr.
Bankman-Fried to “discredit” Caroline Ellison and “taint” the jury pool. But Mr. Bankman-
Fried did nothing wrong. A reporter contacted Mr. Bankman-Fried and asked if he wanted to
respond to an article about Ms. Ellison that had been in process for months, for which the
reporter already had other sources, and which was about to be published. Mr. Bankman-Fried
spoke to the reporter and shared certain documents that he had obtained prior to his arrest, and
that were not produced in discovery, in an effort to give his side of the story about topics that
have already been reported in the media.

        It is not hyperbole to say that there has been a deluge of media coverage of Mr.
Bankman-Fried’s case in the last several months, including more than 1 million news articles,
YouTube videos, and podcasts about FTX and Alameda Research since November 2022.
Among them have been over 33,000 news stories mentioning Ms. Ellison and over 150,000
stories mentioning our client, including several articles discussing their relationship and
describing Ms. Ellison’s personal writings. These articles have reported that Ms. Ellison’s
writings contain her “raw reflections on SBF” and note her “personal and professional
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  resentment” towards him.1 The Government does not claim that Mr. Bankman-Fried was the
  source for those articles, which appear to be describing some of the same documents at issue
  here and which predated the article published on Thursday by almost two months. Hence, we
  vigorously contest the Government’s allegation that Mr. Bankman-Fried attempted to taint the
  jury pool or influence a witness, or that the Government has been prejudiced in any way.

          To the contrary, none of what occurred was improper. Mr. Bankman-Fried did not
  violate the protective order in this case, nor did he violate his bail conditions, nor did he violate
  any law or rule governing his conduct. Rather, Mr. Bankman-Fried was exercising his rights
  under the First and Sixth Amendments to respond to an inquiry from the media, which for
  months has continuously written—almost uniformly negatively—about him and the subject
  matter of his case. This toxic media environment has been created and fostered in multiple fora
  by many of Mr. Bankman-Fried’s detractors—most notably, the current CEO of the FTX Debtor
  entities, John J. Ray III, who has routinely (and gratuitously) attacked and vilified Mr. Bankman-
  Fried in his public comments and filings in the FTX bankruptcy proceedings. Mr. Bankman-
  Fried, who has asserted his innocence despite these public attacks, has a right to counter that
  public narrative by making fair comment in the media.

         Nevertheless, to avoid further distraction and collateral litigation as the parties meet the
  requirements of the scheduling order issued by the Court and prepare for trial, the defense is
  willing to agree to the relief requested. We respectfully request that any such relief, however,
  should apply not just to Mr. Bankman-Fried, but equally to all “parties and witnesses” – namely,
  the Government and all potential witnesses in this case. This would include all current and
  former employees of FTX, Alameda Research, and the FTX Debtor entities, including John Ray.

          1.       Media Context

          The Government’s claim that Mr. Bankman-Fried has somehow attempted to interfere
  with a fair trial is erroneous. The Government itself has been the source of numerous media
  stories through its court filings, press conferences, and its own disclosures to the press, including
  touting to the New York Times “the mountain of evidence [which] ranks among the largest ever
  collected in a white-collar securities fraud case prosecuted by the federal authorities in
  Manhattan.”2 Indeed, the Government complains that the documents shared by Mr. Bankman-

  1
   See, e.g., David Yaffe-Bellany and Matthew Goldstein, Emails, Chat Logs, Code and a Notebook: The Mountain
  of FTX Evidence¸ N.Y. Times (May 23, 2023), available at https://www.nytimes.com/2023/05/23/technology/ftx-
  evidence-sam-bankman-fried.html; Kevin Dugan, What Secrets Did Caroline Ellison Keep In Her Diary? NY
  MAGAZINE INTELLIGENCER (May 23, 2023) available at https://nymag.com/intelligencer/2023/05/what-secrets-did-
  caroline-ellison-keep-in-her-diary.html.
  2
   See, e.g., David Yaffe-Bellany and Matthew Goldstein, Emails, Chat Logs, Code and a Notebook: The Mountain
  of FTX Evidence¸ N.Y. Times (May 23, 2023), available at https://www.nytimes.com/2023/05/23/technology/ftx-
  evidence-sam-bankman-fried.html.
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  Fried include Ms. Ellison’s descriptions of “feeling overwhelmed by her job at Alameda.” ECF
  No. 176 at 1. Yet, the S5 Indictment itself is the source for some of the quotes in Thursday’s
  article on this very topic. See S5 Indictment ¶ 53 (“On or about November 6, 2022,
  BANKMAN-FRIED sent CC-1 a screenshot of a message from Ellison that read, in part: ‘I just
  had an increasing dread of this day that was weighing on me for a long time, and now that it’s
  actually happening it just feels great to get it over with one way or another.’). Hence, it is hard
  to see the basis for the Government’s claims that Mr. Bankman-Fried has somehow “discredited”
  Ms. Ellison or “tainted” the jury pool.

         By contrast, the Government has stood silent as John Ray has routinely made disparaging
  statements in the FTX bankruptcy proceedings and in other public comments discrediting
  Mr. Bankman-Fried, which have been repeated in pervasive media coverage. To give just a few
  examples:

     •   “The advisors are not the villains in these cases. The villains are being pursued by the
         appropriate criminal authorities[.]” Bankr. Dkt. 511 ¶ 9.

     •   Accusing Mr. Bankman-Fried of “repeatedly, pervasively, and often persuasively, lying
         to stakeholders and the customers and creditors in order to maintain the digital con
         game.” Ex. 13 (Excerpt of Apr. 12, 2023 Hear’g Tr., In re FTX Trading Ltd., Case No.
         22-11068 (JTD) (Bankr. D. Del.)) at 9:5-8.

     •   Asserting that the failures that occurred at FTX were due to “hubris, incompetence, and
         greed.” Bankr. Dkt. 1242-1 at 7.

          Mr. Ray’s repeated ad hominem attacks on Mr. Bankman-Fried—which have very little
  do with his role recovering assets for FTX creditors and seem more directed towards publicly
  vilifying Mr. Bankman-Fried—have, along with other negative coverage, created a toxic media
  environment that has left Mr. Bankman-Fried with little choice but to respond.

         2.       Contact with the Reporter

          It was in the context of this hyper-toxic media environment that Mr. Bankman-Fried
  agreed to speak to the reporter. The reporter contacted Mr. Bankman-Fried about a story he was
  working on concerning Ms. Ellison and asked Mr. Bankman-Fried if he wished to respond.
  Mr. Bankman-Fried ultimately agreed to speak to the reporter and invited him for a visit at his
  parents’ home pursuant to the procedures outlined in the bail conditions imposed by this Court.
  This visit was far from secret. Mr. Bankman-Fried followed all conditions and procedures under
  the bail conditions for receiving visitors, including having a security guard screen the reporter for
  prohibited electronic devices and entering the reporter’s name on the visitor log. During their
  meeting, Mr. Bankman-Fried showed the reporter certain documents, none of which were part of
  the materials produced by the Government in discovery, as the Government concedes.
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          The Government contacted defense counsel in the evening of July 17, 2023 and advised
  that they had been informed that a New York Times reporter would be publishing an article about
  Ms. Ellison, and that they had reason to believe that Mr. Bankman-Fried was the source of
  underlying documents. The Government noted that if the documents were derived from the
  discovery, that would be a violation of the protective order entered in this case and asked defense
  counsel to respond. Defense counsel immediately conferred with Mr. Bankman-Fried who
  confirmed that he had shown certain documents to the reporter that he had acquired from a
  source other than the Government’s productions (and prior to receiving any discovery), and that
  he had not shared any discovery materials. Defense counsel independently verified that the
  documents were not part of the discovery and therefore did not implicate the protective order.
  Defense counsel contacted the prosecutors the following day and reported these findings and
  offered to provide copies of the documents to the Government’s filter team so that it could verify
  that the documents were not part of the discovery provided to the defense.

           The story ran on Thursday. Overall, it was favorable to Ms. Ellison and negative towards
  Mr. Bankman Fried. Mr. Bankman-Fried was clearly not the only source of information for the
  article, which refers to multiple sources. Among other things, the article strongly indicates that
  Government employees or agents were also sources for the article because it includes the
  reported fact that “[p]rosecutors are expected to begin preparing at least some witnesses in
  August” citing “two people with knowledge of the matter” and describes other documents
  reportedly “seen” by “two people” who spoke with the New York Times.

         3.       The Government’s Assertions of “Harassment” and “Prejudice” Are Erroneous.

          The defense vehemently denies that Mr. Bankman-Fried attempted to “harass,”
  “discredit” or even “cast [Caroline Ellison] in a poor light,” as the Government claims.
  Mr. Bankman-Fried did not seek out the New York Times. The reporter approached our client for
  comment on a story in progress. The story implicated Mr. Bankman-Fried as much as it did
  Ms. Ellison, and our client agreed to provide his perspective. Mr. Bankman-Fried showed the
  reporter the materials referenced in the Government’s letter, which the Government concedes
  were not produced in discovery, solely for the purpose of responding to the reporter regarding
  the story for which the reporter already had alternate sources.

          “In the context of general public awareness” and prior news reporting of Ms. Ellison’s
  prior romantic relationship with Mr. Bankman-Fried, the disclosure of the specific materials
  cited in the New York Times article are unlikely to result in any prejudice or tainting of the jury
  pool. See Gentile v. State Bar of Nevada, 501 U.S. 1030, 1046, 111 S. Ct. 2720, 2730 (1991).
  Indeed, up until this point, the Government has shown little concern for pretrial publicity
  regarding its witnesses, belying its now-proffered concern for witnesses potentially being
  deterred by the specter of publicity. The Government itself disclosed Ms. Ellison’s status as a
  cooperating witness before it would typically do so: it did not object to the Court’s unsealing of
  her allocution and has referenced her expected testimony in multiple submissions to the Court
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  regarding bail conditions and in other legal motions. The Government has put Ms. Ellison front
  and center in the public domain, thereby creating the circumstances in which Ms. Ellison’s
  writings would be considered newsworthy. There is no dispute that she will testify at trial, that
  her credibility will be challenged, and that she will be examined regarding her prior writings
  (presumably by both the Government as well as the defense).

          In light of this, it is difficult to see what additional taint there is that has not already been
  invited by the Government. Furthermore, the notion that this one story had any effect—let alone
  the dramatic effect asserted by the Government—on the overall fairness of the upcoming trial
  should not be credited. To the extent this is a concern, the Court has already indicated that it will
  conduct a robust voir dire that will eliminate any potential jurors who believe they are biased due
  to the media coverage of this case.

           4.       Mr. Bankman-Fried Has a Right to Respond to Press Inquiries.

          Mr. Bankman-Fried’s right to candidly respond to press inquiries directly implicates his
  rights under the First and Sixth Amendments. See Gentile, 501 U.S. at 1043 (a defense does “not
  begin inside the courtroom door” and one “cannot ignore the practical implications of a legal
  proceeding” for the accused); see also id. at 1058 (“[I]n some circumstances press comment is
  necessary to protect the rights of the client[.]”). In light of these constitutional rights, courts
  have recognized that “gag orders” of the sort sought by the Government are only appropriate
  where there is “a threat of clear and present danger to the impartiality and good order of the
  courts.” Id. at 1039. No such threat exists here.

           The Government’s reliance on Sheppard v. Maxwell, 384 U.S. 333, 363, 86 S. Ct. 1507,
  1522 (1966) is misplaced. That case highlighted the negative impact unfettered media reporting
  of a criminal case can have on the ability to hold a fair trial. Restricting Mr. Bankman-Fried’s
  ability to respond with candor to articles already being written about him and his case—many of
  which portray him in a negative light—would only heighten the prejudice resulting from the
  extensive media attention on this case. Application of Dow Jones & Co., Inc., 842 F.2d 603,
  611-12 (2d Cir. 1988) is also inapposite. Dow Jones involved multiple defendants, each of
  which voluntarily agreed to the imposition of a restraining order following “escalating publicity
  duels” including prosecutors and defense counsel.3 Id. at 605. Here, Mr. Bankman-Fried stands
  alone. All other indicted alleged co-conspirators have accepted guilty pleas and will not face a
  jury trial.




  3
    The other case cited by the Government, United States v. Brown, 218 F.3d 415, 428 (5th Cir. 2000), likewise
  involved additional defendants in a related case whose interests were protected by the restraining order. Id. at 419.
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         5.       In the Interest of Avoiding Collateral Litigation, the Defense Will Consent to the
                  Government’s Requested Relief.

          The Government concedes that the prohibitions of SDNY Local Rule 23.1(a) “apply only
  to the conduct of lawyers and their agents.” ECF No. 176 at 3. The Government nevertheless
  seeks an order pursuant to SDNY Local Rule 23.1(h) prohibiting “extrajudicial statements by
  parties and witnesses” that are likely to interfere with the right to a “fair trial by an impartial
  jury.” Id. Rule 23.1 exists to prevent individuals from affirmatively seeking out the media for
  purposes of disparaging a witness. As discussed above, Mr. Bankman-Fried did not seek out the
  journalist or plot to influence anyone. Rather, he responded with candor to a press inquiry to
  counter a “wave of publicity he perceived as. . . injuring his [ ] reputation in the community.”
  Gentile, 501 U.S. at 1043.

         Nevertheless, given the timetable in which submissions will be due to the Court from
  both parties beginning on August 14, 2023, we believe that collateral litigation about these issues
  should be avoided. The defense therefore agrees to the relief requested. We respectfully request
  that any such relief, however, should apply equally to all “parties and witnesses” – namely, the
  Government and all potential witnesses in this case. This would include all current and former
  employees of FTX, Alameda Research, and the FTX Debtor entities, including John Ray.

         6.       Modification of Mr. Bankman-Fried’s Bail Conditions Is Unwarranted.

           To the extent the Court is considering modifying Mr. Bankman-Fried’s bail conditions,
  such modification is unnecessary because the order the Government seeks, and to which the
  defense consents (for the purposes of avoiding unnecessary collateral litigation), is the “least
  restrictive condition” that will adequately address the Government’s concerns. “Under the Bail
  Reform Act, courts are required to release a defendant ‘subject to the least restrictive further
  condition, or combination of conditions, that [it] determines will reasonabl[y] assure the
  appearance of the person as required and the safety of any other person and the community.’”
  United States v. Rains, No. 22-CR-18 (NSR), 2022 WL 4534540, at *1 (S.D.N.Y. Sept. 28,
  2022) (quoting 18 U.S.C. § 3142(c)(1)(B)). The Government itself states that the order it
  requests is “the least restrictive alternative for ensuring a fair trial.” ECF No. 176 at 4. We
  respectfully submit that nothing more is required and will be prepared to address the Court’s
  questions about bail at the upcoming conference.

                                                       Respectfully submitted,


                                                         /s/ Mark S. Cohen      .
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  cc:   All counsel of record (via ECF)
